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 6   Attorneys for PLAINTIFF,
     DAVID A. BERKOVITZ
 7

 8                              UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10    DAVID A. BERKOVITZ                            Case No. 2:22-CV-01628
11             Plaintiff,
12    v.                                            VERIFIED COMPLAINT FOR
                                                    COPYRIGHT INFRINGEMENT (17
13    DOES 1-5                                      U.S.C. § 501)
14             Defendants.                          DEMAND FOR JURY TRIAL
15

16          Plaintiff David A. Berkovitz (“Berkovitz”), by his attorneys, and for his
17   Verified Complaint against Defendants Does 1-5 (“Defendants”) (collectively
18   “Defendants”), alleges as follows:
19
20                               JURISDICTION AND VENUE

21
            1.       This is a civil action against Defendants for Copyright Infringement in

22
     violation of the United States Copyright Act, 17 U.S.C. §§ 101 et seq. This Court

23
     has subject matter jurisdiction over the Copyright Infringement under 17 U.S.C. §

24
     501(a).

25
            2.       Venue is proper in this judicial district under 28 U.S.C. §§ 1391 and 28

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     U.S.C. § 1400(a) in that the claims arise in this judicial district, Defendants are

27
     believed to be residents in this judicial district, and the injury Berkovitz suffered

28
     took place in this judicial district.

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 1                                        PARTIES
 2         3.    Berkovitz is a California resident, and an Assistant Professor at The
 3   George L. Argyros School of Business and Economics of Chapman University.
 4   Berkovitz has an address at 20251 Hawthorne Boulevard, Suite 500, Torrance, CA,
 5   90503. His principal place of business at Chapman University is 1 University Drive,
 6   Orange, CA, 92866.
 7         4.    Berkovitz is unaware of the true names and capacities of Defendants
 8   sued herein as DOES 1-5, inclusive, and therefore sues these Defendants by such
 9   fictitious names. Berkovitz will amend this complaint to allege their true names and
10   capacities when ascertained. Berkovitz is informed and believes and thereon alleges
11   that each of the fictitiously named Doe Defendants is responsible in some manner
12   for the wrongs alleged herein, that Berkovitz’s injuries were proximately caused by
13   such Doe Defendants, and that at all relevant times each was the agent and servant
14   of the other Defendants and was acting within the course and scope of said agency
15   and employment. The fictitiously named Doe Defendants are referred to collectively
16   herein as “Defendants.”
17                        STATEMENT OF RELEVANT FACTS
18         5.    Berkovitz is an Assistant Professor, Clinical Faculty, at The George L.
19   Argyros School of Business and Economics at Chapman University in Orange, CA.
20         6.    In his capacity as an Assistant Professor, Berkovitz creates and
21   administers various assignments and exams.
22         7.    During the 2021 Spring Semester at Chapman University, Berkovitz
23   taught the course Business 215.
24         8.    Upon information and belief, Defendants were students in the Business
25   215 course taught by Berkovitz.
26         9.    During the 2021 Spring Semester Chapman University, Berkovitz
27   administered several exams in his capacity as Assistant Professor.
28         10.   In 2021, Berkovitz created several exams, two of which were entitled:
                                                -2-
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 1   “BERKOVITZ BUSINESS 215 SECTION 05 SPRING 2021 SECOND
 2   MIDTERM,” (“the Midterm Exam”) and “BERKOVITZ BUSINESS 215
 3   SECTION 05 SPRING 2021 FINAL EXAM” (“the Final Exam”).
 4         11.    The Midterm Exam and Final Exam comprise subject matter protected
 5   by copyright.
 6         12.    On April 21, 2021, Berkovitz distributed the Midterm Exam to his
 7   students for testing purposes.
 8         13.    On May 21, 2021, Berkovitz distributed the Final Exam to his students
 9   for testing purposes.
10         14.    In or about January 2022, Berkovitz first discovered that parts of the
11   Midterm     Exam    and      Final   Exam      had    been    posted    on   the   website
12   https://www.coursehero.com/ (“the Course Hero Website”), an education focused
13   document sharing website.
14         15.    On February 24, 2022, Berkovitz filed Copyright Applications with the
15   United States Copyright Office for the Midterm Exam and Final Exam, on an
16   expedited basis.
17         16.    On February 25, 2022, Berkovitz received confirmation that the
18   Copyright Applications were accepted by the United States Copyright Office, and
19   that the Midterm Exam and Final Exam were granted Copyright Registrations.
20         17.    The Midterm Exam was granted Copyright Registration No. TX9-084-
21   908. A true and correct copy of the Copyright Registration Certificate for the
22   Midterm Exam Copyright Registration is attached hereto as Exhibit A.
23         18.    The Final Exam was granted Copyright Registration No. TX9-084-343.
24   A true and correct copy of the Copyright Registration Certificate for the Final Exam
25   Copyright Registration is attached hereto as Exhibit B.
26         19.    On or before February 23, 2022, Defendants published the Midterm
27   Exam and Final Exam on the Course Hero Website.
28         20.    Defendants published the Midterm Exam and Final Exam on the Course
                                                   -3-
                             VERIFIED COMPLAINT FOR COPYRIGHT INFRINGEMENT
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 1   Hero Website without any license or authorization from Berkovitz to do so.
 2         21.    Defendants had access to the Midterm Exam and Final Exam because
 3   they obtained access to the Copyrighted Works for testing purposes in their role as
 4   students in Berkovitz’s class, and the Midterm Exam and Final Exam were
 5   accessible only to students who were then enrolled in Berkovitz’s Business 215
 6   Class in the Spring Semester at Chapman University.
 7    CLAIM FOR RELIEF FOR COPYRIGHT INFRINGEMENT PURSUANT
 8       TO 17 U.S.C. § 501 BY BERKOVITZ AGAINST ALL DEFENDANTS
 9         22.    Berkovitz incorporates by reference paragraphs 1 through 21 of this
10   complaint as though fully set forth herein.
11         23.    At all relevant times, Berkovitz owned the Copyrights in the Midterm
12   Exam and Final Exam.
13         24.    None of the Defendants ever had any individual ownership interest in
14   the Copyrights in the Midterm Exam and Final Exam.
15         25.    Attached hereto as Exhibits A and B are the Copyright Registration
16   Certificates for the Midterm Exam and Final Exam, respectively. These Copyright
17   Registration Certificates are prima facie evidence of the validity of the Copyrights
18   in the Midterm Exam and Final Exam and the facts stated in the Copyright
19   Registration Certificates.
20         26.    Defendants infringed Berkovitz’s exclusive right to reproduce, make
21   copies, distribute, or create derivative works by publishing the Midterm Exam and
22   Final Exam on the Course Hero Website without Berkovitz’s permission.
23         27.    Defendants made the Midterm Exam and Final Exam available to the
24   public by posting them on the Course Hero Website.
25         28.    Defendants knew or should have known that their acts constituted
26   Copyright Infringement.
27         29.    Defendants’ infringing conduct was willful within the meaning of the
28   Copyright Act of 1976.
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                           VERIFIED COMPLAINT FOR COPYRIGHT INFRINGEMENT
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 1         30.   As a result of Defendants’ infringement of the Copyrights, Berkovitz is
 2   entitled to: (a) a declaration, pursuant to 28 U.S.C. § 2201, that Defendants have
 3   infringed the Copyrights; (b) entry of a preliminary and permanent injunction,
 4   pursuant to 17 U.S.C. § 502, enjoining Defendants and all persons in active concert
 5   or participation with Defendants from directly or indirectly infringing the
 6   Copyrights; (c) an order of impoundment, pursuant to 17 U.S.C. § 503(a)(1)(A),
 7   impounding all devices containing copies of the copyrighted material in Defendants’
 8   possession, custody, control, or within its distribution channels; (d) an award of
 9   actual damages and profits under 17 U.S.C. §504(b); (e) an award of statutory
10   damages for willful infringement under 17 U.S.C. §504(c); and (f) an award of costs,
11   prejudgment interest, and attorneys’ fees, pursuant to 17 U.S.C. §505.
12                                PRAYER FOR RELIEF
13         WHEREFORE, Berkovitz prays for judgment against all Defendants as
14         follows:
15         Entry of a Judgment that includes:
16                    a. a permanent injunction, enjoining Defendants and all persons in
17          active concert or participation with Defendants from directly or indirectly
18          infringing the Copyrights for the Midterm Exam and Final Exam;
19                    b. an order of impoundment, impounding all devices containing
20          copies of the Copyrighted material within Defendants’ possession, custody,
21          control, or within their distribution channels;
22                    c. an award of actual damages and profits;
23                    d. an award of statutory damages for willful infringement;
24                    e. an award of attorneys’ fees;
25                    f. prejudgment interest;
26                    g. Costs of the suit; and
27                    h. Any and all additional relief that the Court may deem just and
28          proper.
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                           VERIFIED COMPLAINT FOR COPYRIGHT INFRINGEMENT
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 1                                         Respectfully submitted,
 2                                         HANKIN PATENT LAW, APC
 3   Dated: March 10, 2022                 By: /Marc E. Hankin/
 4
                                           Marc E. Hankin, Esq.
 5                                         Attorneys for Plaintiff,
 6
                                           David A. Berkovitz

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 8
                             DEMAND FOR JURY TRIAL
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          Berkovitz hereby demands a trial by jury of all issues so triable in this action.
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11
                                           HANKIN PATENT LAW, APC
12
     Dated: March 11, 2022                 By: /Marc E. Hankin/
13

14                                         Marc E. Hankin, Esq.
15                                         Attorneys for Plaintiff,
                                           David A. Berkovitz
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